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                                      UNITED STATES DISTRICT COURT
1
                                             DISTRICT OF NEVADA
2
                                                        ***
3
      UNITED STATES OF AMERICA,
4
                             Plaintiff,                        Case No. 2:12-cr-00463-JCM-VCF
5     vs.
6
                                                               ORDER
      FREDERICK VERNON WILLIAMS,
7                                                              MOTION FOR LEAVE TO FILE UNDER SEAL [ECF
                             Defendant.                        NO. 916] AND MOTION TO EXTEND DEADLINE
8                                                              [ECF NO. 924]

9
              Before the Court are Defendant Frederick Williams’ Motion for Leave to File Motion for Return
10
     of Property Under Seal (ECF No. 916) and Motion to Extend Deadline for Reply to Government’s
11

12
     Response to Motion for Return of Property (ECF No. 924). For the reasons discussed below, Williams’

13   motion to seal is granted and his motion to extend deadline is denied as moot.

14            On May 22, 2018, Williams filed a motion to file a motion for return of property under seal. (ECF

15   No. 916). The motion for return of property was attached to the motion to seal. (ECF No. 916-1). It

16   contains information relating to minor children. (Id.).
17
              On June 5, 2018, the Government filed a response to Williams’ motion for return of property, not
18
     the motion to seal. (ECF No. 923). The Government filed its response under seal with no accompanying
19
     motion to seal. (Id.). On June 12, 2018, Williams filed a motion to extend time to reply to the
20
     Government’s response. (ECF No. 924).
21
              The Court grants Williams’ motion to file under seal. The motion for return of property contains
22
     information relating to minor children. Under Federal Rule of Criminal Procedure 49.1, the Court may
23
     order that a filing be made under seal if it contains “the name of an individual known to be a minor.” In
24

25   addition, the Government did not oppose the motion to seal, and “[t]he failure of an opposing party to

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     include points and authorities in response to any motion constitutes a consent to granting the motion.”
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     LCR 47-3.
2

3
            Though the motion for return of property has not been officially filed in this case, merely being

4    submitted as an attachment to Williams’ motion to seal, the Government has already attempted to respond

5    to the motion to return property. (ECF No. 923). The Government filed the response under seal with no

6    accompanying motion to seal. See LR IA 10-5.
7           In order to prevent further confusion, the Court now orders that the Government’s response (ECF
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     No. 923) be stricken from the record. The Government may re-file the document as a response to
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     Williams’ motion for return of property. The Government must comply with the local rules regarding
10
     sealing of documents. Because the Government’s response is hereby stricken, Williams’ motion to extend
11
     time to reply is denied as moot.
12
            ACCORDINGLY, and for good cause shown,
13
            IT IS ORDERED that Williams’ Motion for Leave to File Motion for Return of Property Under
14
     Seal (ECF No. 916) is GRANTED. Williams is directed to file his motion under seal.
15

16          IT IS FURTHER ORDERED that the Government’s Response to Defendant’s Motion for Return

17   of Property (ECF No. 923) is hereby STRICKEN from the record.

18          IT IS FURTHER ORDERED that Williams’ Motion to Extend Deadline for Reply to

19   Government’s Response to Motion for Return of Property (ECF No. 924) is DENIED AS MOOT.
20          DATED this 18th day of June, 2018.
21

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24                                                              CAM FERENBACH
                                                                UNITED STATES MAGISTRATE JUDGE
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